                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                       CRIMINAL DOCKET NO. 5:06CR22-9-V


UNITED STATES OF AMERICA                       )
                                               )
                                               )
               vs.                             )              ORDER
                                               )
                                               )
STERLING LEE DREW                              )
                                               )

       THIS MATTER is before the Court on the Defendant’s Motion To Correct Clerical Error

In Judgment, filed 7 December 2007.

       The Defendant’s motion represents that during the sentencing hearing in this matter on 7

October 2007, the Court indicated that it would provide in the written Judgment that the Defendant

would not have to report to the institution designated by the Bureau of Prisons until after 1 February

2008. The motion further represents that the Defendant may be called as a witness for the trial of co-

defendants which is scheduled for this Court’s January 2008 criminal term. Additionally, the motion

reflects that the Defendant has received a letter from the United States Marshal Service directing him

to report to the federal penitentiary in Atlanta, Georgia on 27 December 2007.

       A written Judgment was entered on 23 October 2007 with a notation on page 2 “REPORT

NOT AFTER FEBRUARY 1, 2008.” For the reasons stated in Defendant’s motion and for good

cause shown, that the United States Marshal Service and the Bureau of Prisons have interpreted this

notation to mean that the Defendant must report before 1 February 2008, and that the Government

does not object, an Amended Judgment will be entered in the above case.

       IT IS, THEREFORE, ORDERED that an Amended Judgment should be filed with the

following changes made on page 2, “DEFENDANT IS NOT TO REPORT FOR SERVICE OF

SENTENCE UNTIL AFTER 1 FEBRUARY 2008, BUT NO LATER THAN 28 FEBRUARY

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2008". IT IS, FURTHER, ORDERED that the Clerk’s Office send a copy of this order to the

United States Marshal Service, Bureau of Prisons, United States Attorney’s Office and Defense

Counsel.



                                             Signed: December 19, 2007




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